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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


CRYSTALLEX INTERNATIONAL CORP.,

                          Plaintiff,
                  v.                                            Case No. 1:17-mc-00151-LPS
BOLIVARIAN REPUBLIC OF VENEZUELA,

                          Defendant.




ALTANA CREDIT OPPORTUNITIES FUND SPC,
ALTANA CREDIT OPPORTUNITIES FUND 1 SP,
and ALTANA FUNDS LTD. CAYMAN,

                          Plaintiffs,
                                                                Case No. 1:23-mc-00608-LPS
                  v.

BOLIVARIAN REPUBLIC OF VENEZUELA,

                          Defendant.

       STIPULATION AND ORDER TO INCORPORATE RELATED BRIEFING

       WHEREAS, on December 21, 2023, Altana Credit Opportunities Fund SPC, Altana Credit

Opportunities Fund 1 SP, and Altana Funds Ltd. Cayman (“Plaintiffs”) filed their motion for a writ

of attachment (“Attachment Motion”) in the matter styled Altana Credit Opportunities Fund SPC,

et al. v. Bolivarian Republic of Venezuela, Misc. 23-608-LPS (the “Altana Matter”) (Altana

Matter, D.I. 3), supporting materials (Altana Matter, D.I. 4, 7), and the Motion for Extension of

Deadlines for Submission of Attached Judgment Statement and Status Summary (the “Extension

Motion”) was filed in the Altana Matter and in the matter styled Crystallex International

Corporation v. Bolivarian Republic of Venezuela, Misc. 17-151-LPS matter (the “Crystallex

Matter”);
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       WHEREAS, on March 23, 2023, this Court issued its decision in a related action, OI Eur.

Grp. B.V. v. Bolivarian Republic of Venezuela, No. 19 Misc. 290, 2023 WL 2609248 (D. Del. Mar.

23, 2023) (“OIEG I”), in which the Court held that Petróleos de Venezuela, S.A. (“PDVSA”) did

not enjoy immunity under the Foreign Sovereign Immunities Act, 28 U.S.C. §§ 1602, et seq. (the

“FSIA”);

       WHEREAS, in OI Eur. Grp. B.V. v. Bolivarian Republic of Venezuela, 73 F.4th 154 (3d

Cir. 2023) (“OIEG II”), the United States Court of Appeals for the Third Circuit affirmed this

Court’s order in OIEG I denying sovereign immunity under the FSIA, and declined to review other

issues regarding the attachment of the PDV Holding, Inc. (“PDVH”) shares;

       WHEREAS, in OIEG I and the Orders that followed (e.g., No. 19 Misc. 290, D.I. 132),

this Court conditionally granted the motions for writs of attachment filed by six judgment creditors

of the Bolivarian Republic of Venezuela (“Venezuela” or “Republic”) for attachment of PDVSA’s

shares of PDVH and denied the cross-motions to dismiss filed by PDVSA;

       WHEREAS, other such actions include, but are not limited to, (1) Tidewater Investment

SRL and Tidewater Caribe S.A., Misc. No. 19-79; (2) Contrarian Capital Management, L.L.C.,

Contrarian Capital Fund I, L.P., Contrarian Dome du Gouter Master Fund, LP, Contrarian

Capital Senior Secured, L.P., Contrarian EM II, LP, Contrarian Emerging Markets, L.P., Boston

Patriot Summer St LLC, Polonius Holdings, LLC, Emma 1 Master Fund, L.P., Contrarian Funds,

L.L.C., and E1 SP, Misc. Nos. 21-18, 22-131, and 22-263; (3) Valores Mundiales, S.L. and

Consorcio Andino, S.L., Misc. No. 23-298; (4) Pharo Gaia Fund Ltd., Pharo Macro Fund Ltd.,

and Pharo Trading Fund, Ltd., Misc. Nos. 23-360 and 23-361; (5) Rudi Lovati and Alessandro

Lucibello Piani, Misc. No. 23-340; (6) Gramercy Distressed Opportunity Fund LLC, Misc. Nos.

23-378 and 23-379; and (7) Saint-Gobain Performance Plastics Europe, Misc. No. 23-397




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(collectively, the “Similar Actions”), in which, the Court also conditionally granted the creditors’

motions for a writ of attachment fieri facias in the Similar Actions in an opinion dated November

1, 2023; and

        WHEREAS, the Parties wish to avoid the burden and expense for themselves and the Court

of litigating issues that have already been resolved by this Court, in actions including the Similar

Actions and OIEG I;

        IT IS HEREBY STIPULATED AND AGREED, subject to the approval of the Court:

        1.       All arguments set forth in the briefing by the parties in the Similar Actions shall be

incorporated by the parties to this action into any opposition to the Attachment Motion filed by

any or all of the Venezuela Parties and any reply in further support of the Attachment Motion filed

by Plaintiffs.

        2.       The Venezuela Parties right to appeal any of the issues decided in any of the related

actions, including the Similar Actions, and Plaintiffs’ arguments in opposition to any such appeal,

are expressly preserved.

        3.       The Parties may brief any issues specific to the claims made in the Attachment

Motion filed in the Altana Matter according to the schedule entered by Court.




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                                        Attorneys for PDV Holding, Inc., and
                                        CITGO Petroleum Corporation in the
                                        Crystallex Action

Dated: January 12, 2024




     SO ORDERED this ________ day of ________________________, 2024.


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                                     Judge Leonard P. Stark




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